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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
TENNESSEE, WESTERN DIVISION

ge -w §§ §

DAisY MCKINNEY, individually and as 3 §§ §§ §;
Nexi Friend of WILLIE MCKINNEY, an §,?1-'_ 5 _'_

incapacitated person, §§§J_Z'-`? m _:"g_
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Piainiiff, _<» ,>_, l

CASE NO. 2:05-Cv-02222»s;glg;515me is

v. "7>` m -"“

DIVISION 1
KINDRED HEALTHCARE, INC.;

KINDRED HEALTHCARE OPERATING,
INC.; KINDRED NURSING CENTERS
LIMITED PARTNERSHIP dfb/a SPR_ING
GATE REHABILITATION AND
HEALTHCARE CENTER; RENEE B.
TUTOR, in her capacity as Administrator of
Spring Gate Rehabilitation and Healthcare
Center,

Jury Demanded

\_/\_/\_/\_/\./\_/\_/\_/\_/H_/\_/\_,/\_/\_/\_/\_/\_/\_/\_/

Defendants.

-JQLNI-RRDRDSEB SCHEDULING ORDER
The undersigned counsel for Defendants and counsel for the Plaintiff have conferred in
accordance with Fed. R. Cz'v. P. 26 and agree upon the following dates to be established to
govern discovery in this matter as Defendants have a Motion to Disrniss, or in the Alternative,
For Sumrnary Judgment pending and Plaintiff has a Motion to Rernand pending

l. Initial disclosures pursuant to Fea'. R. Civ. P. 26(a)(l): two (2) Weeks from date of

Scheduling conference

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2. The parties agree that all discovery in this matter, other than Rule 26 disclosures,
discovery related to issues raised in Plaintiff‘ s l\/Iotion to Remand and discovery related to
Defendants‘ Motion to Dismiss, or in the Alternative, for Summary Judgment, shall be stayed
pending the Court's ruling on Plaintiffs Motion to Remand and Defendants' Motion regarding
the Alternative Dispute Resolution agreement The parties shall complete all remand-related
discovery and mediation/arbitration-related discovery on or before August 26, 2005. Further,
Defendants' participation in any discovery related to Plaintift‘s Motion to Remand does not
waive Defendants‘ right to compel mediation and/or arbitration pursuant to the terms of the
Altemative Dispute Resolution Agreement, which is a subject of Defendants' Motion to Dismiss,
or in the Altemative, For Summary Judgment. Finally, the parties agree that the deadlines
imposed by this Scheduling Order shall not operate to waive any objections related to the request
of discovery.

3. lf necessary, the Court shall conduct a follow-up scheduling conference on

IT lS SO ORDERED.

 

HONORABLE TU M. PHAM

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DATE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CV-02222 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

F. Laurens Brock

CHAMBLISS BAHNER & STOPHEL
Tvvo Union Square

1000 Tallan Bldg.

Chattanooga, TN 37402

Cameron C. Jehl

WILKES & McHUGH- Little Rock
425 West Capitol Ave.

Ste. 3500

Little Rock7 AR 72201

Honorable Samuel Mays
US DISTRICT COURT

